            CASE 0:17-cv-05106-ECT-JFD Doc. 22 Filed 11/14/18 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Donald Sanders,                               Court File No. 17-cv-5106 (ECT/KMM)

                   Plaintiff,

       v.                                        DEFENDANT'S MOTION FOR
                                                 SUMMARY JUDGMENT OR,
BNSF Railway Company,                            ALTERNATIVELY, PARTIAL
                   Defendant.                      SUMMARY JUDGMENT


       In accordance with Fed. R. Civ. P. 56, Defendant BNSF Railway Company moves

for summary judgment on all of Plaintiff’s Federal Railroad Safety Act (“FRSA”) claims.

Summary judgment is proper because Plaintiff cannot establish that FRSA-protected

activity contributed to his dismissal and because BNSF would have dismissed Plaintiff

notwithstanding any supposed protected activity. Alternatively, BNSF moves for partial

summary judgment on Plaintiff’s punitive damages claim.

       This motion is supported by all files, records, and proceedings herein, including

BNSF’s papers to be filed in accordance with L.R. 7.1.




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       CASE 0:17-cv-05106-ECT-JFD Doc. 22 Filed 11/14/18 Page 2 of 2


Dated: November 14, 2018                STINSON LEONARD STREET LLP


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